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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                )
    In re:                                      ) Chapter 11
                                                )
    BOUCHARD TRANSPORTATION CO., INC., et al., ) Case No. 20-34862 (DRJ)
                                              1

                                                )
                  Debtors.                      ) (Jointly Administered)
                                                )

                  SUPPLEMENTAL DECLARATION OF RICHARD
                  W. MORGNER IN SUPPORT OF THE DEBTORS’
               EMERGENCY MOTION FOR ENTRY OF INTERIM AND
               FINAL ORDERS (A) AUTHORIZING THE DEBTORS TO
            OBTAIN POSTPETITION FINANCING, (B) AUTHORIZING THE
            DEBTORS TO USE CASH COLLATERAL, (C) GRANTING LIENS
         AND PROVIDING CLAIMS WITH SUPERPRIORITY ADMINISTRATIVE
         EXPENSE STATUS, (D) GRANTING ADEQUATE PROTECTION TO THE
     PREPETITION SECURED PARTIES, (E) MODIFYING THE AUTOMATIC STAY,
     (F) SCHEDULING A FINAL HEARING, AND (G) GRANTING RELATED RELIEF

          I, Richard W. Morgner, hereby declare under penalty of perjury as follows:

          1.       My declaration (the “Original Declaration”) in support of the Debtors’ Emergency

Motion for Entry of Interim and Final Orders (A) Authorizing the Debtors to Obtain Postpetition

Financing, (B) Authorizing the Debtors to Use Cash Collateral, (C) Granting Liens and Providing

Claims with Superpriority Administrative Expense Status, (D) Granting Adequate Protection to

the Prepetition Secured Parties, (E) Modifying the Automatic Stay, (F) Scheduling a Final

Hearing, and (G) Granting Related Relief [Docket No. 102] (the “Motion”)2 was attached to the

Motion as Exhibit B.



1     Due to the large number of Debtors in these chapter 11 cases, a complete list of the Debtor entities and the last
      four digits of their federal tax identification numbers is not provided herein. A complete list may be obtained on
      the website of the Debtors’ proposed claims and noticing agent at https://cases.stretto.com/bouchard. The location
      of the Debtors’ service address is: 58 South Service Road, Suite 150, Melville, NY 11747.

2     Capitalized terms used but not defined herein have the meanings given to such terms in the proposed Second
      Interim and, Where Applicable, Final Order (A) Authorizing the Debtors to Obtain Postpetition Financing,
      (B) Authorizing the Debtors to Use Cash Collateral, (C) Granting Lien and Providing Claims with Superpriority
      Administrative Expense Status, (D) Granting Adequate Protection to Prepetition Secured Parties, (E) Modifying
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       2.      On October 21, 2020, the Court entered the Interim Order, which secured the

Debtors’ access to approximately $29 million of the DIP Facility, subject to the terms of the DIP

Term Sheet, and granted authorization to use Cash Collateral. Pursuant to the proposed Final DIP

Order, the Debtors seek, among other things, authorization for the Debtors to incur obligations

under the DIP Facility on a final basis and to provide, on a second interim basis, adequate

protection to the Prepetition Secured Parties.

       3.      On December 2, 2020, the Debtors filed the Debtors’ Reply in Support of the DIP

Motion [Docket No. 278] in response to the objection filed by Wells Fargo. Also on December 2,

2020, the Debtors filed the proposed Final DIP Order [Docket No. 279].

       4.      In connection with the foregoing, I submit this supplemental declaration

(this “Supplemental Declaration”) in support of the Motion and the proposed Final DIP Order.

       5.      The statements in this Supplemental Declaration are, except where specifically

noted, based on my personal knowledge or opinion, on information that I have from the Debtors’

advisors or employees working directly with me or under my supervision, direction, or control, or

from the Debtors’ books and records maintained in the ordinary course of business. I am not being

specifically compensated for this testimony other than through payments received by

Jefferies LLC (“Jefferies”) as a professional proposed to be retained by the Debtors (including

certain financing fees). If I were called upon to testify, I could and would competently testify to

the facts set forth herein on that basis. I am authorized to submit this Supplemental Declaration

on behalf of the Debtors.




   the Automatic Stay, (F) Scheduling a Final Hearing, and (G) Granting Related Relief [Docket No. 279] (the
   “Final DIP Order”).


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                          Professional Background and Qualifications

       6.      I     am   a   Managing    Director    and   Joint   Global   Head     of   the   Debt

Advisory & Restructuring Group at Jefferies, a global investment banking firm founded over 50

years ago, with its principal office located at 520 Madison Avenue, New York, New York 10022.

Jefferies is a registered broker-dealer with the United States Securities and Exchange Commission

and is a member of the Financial Industry Regulatory Authority and the Securities Investor

Protection Corporation. Jefferies, together with its investment banking advisory affiliates, has

approximately 3,900 employees located in more than 30 offices around the world. Jefferies and

its senior professionals have extensive expertise providing investment banking services to

financially distressed companies, creditors, committees, equity holders, asset purchasers, and other

constituencies in reorganization proceedings and complex financial restructurings, both in and out

of court.

       7.      I have more than 28 years of investment banking and restructuring experience.

Since joining Jefferies in 2009, I have provided investment banking expertise, and distressed

mergers and acquisition and financing advice to companies, lenders, and investors in both in- and

out-of-court restructurings. Prior to joining Jefferies, I was a Managing Director and Co-Head of

the mergers and acquisitions group at Miller Buckfire, where my primary responsibilities included

advising companies and investors in restructuring, distressed mergers and acquisitions, distressed

financing, and special situations.

                               Entitlement to Adequate Protection

       8.      I understand that the Bankruptcy Code, as a general matter, entitles a prepetition

secured creditor to adequate protection of their prepetition interest in collateral against diminution

in value of such interest on account of a debtor’s use of such collateral while the automatic stay

remains in effect.

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        9.      I further understand that courts in this circuit also consider the equity cushion in

collateral when making a determination as to whether a secured creditor’s interest is adequately

protected. I also understand that courts in this circuit have found that a secured creditor with at

least a twenty percent equity cushion in its collateral is adequately protected.

                                       The Wells Fargo Collateral

        10.     Jefferies has reviewed the vessel appraisal completed by Dufour, Laskay & Strouse,

Inc., a nationally recognized marine appraiser firm, in October 2019 (the “Dufour Appraisal”).

According to the Dufour Appraisal, the fair market value of the vessels that make up the Wells

Fargo Collateral is approximately $432.3 million. I understand, moreover, that Wells Fargo has

asserted the total obligations under the Wells Fargo Prepetition Revolving Credit Facility, as of

the Petition Date, to be approximately $171.9 million (inclusive of accrued and unpaid interest and

other amounts owed thereunder).3 Thus, according to the Dufour Appraisal, Wells Fargo appears

to have a very substantial equity cushion with respect to its collateral. Indeed, even if the Dufour

Appraisal overvalues the Wells Fargo Collateral by 100%, Wells Fargo would still have a

significant equity cushion of more than $44 million in its collateral.

        11.     Based upon my experience, I understand that the maximum leverage level generally

available to relevant maritime companies operating under the Jones Act is between a 70% to 75%

loan to value ratio. The Dufour Appraisal implies a loan to value ratio of only approximately 40%.

        12.     Based on the DuFour Appraisal, the customary LTV ratio for Jones Act entities,

and my general experience as a restructuring professional, I believe that there is a substantial equity

cushion in the Wells Fargo Collateral. Moreover, I understand that the book value depreciation of



3   For the avoidance of doubt, the Debtors reserve all rights with respect to Wells Fargo’s prepetition claims,
    including, without limitation, with respect to their nature, amount, and allowance.


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the Wells Fargo Collateral over a three-month period will not be material and will not impact the

greater-than-twenty-percent equity cushion analysis.

        13.       Finally, I understand that the Wells Fargo Collateral consists exclusively of hard

assets, specifically, certain of the Debtors’ vessels, and does not include Cash Collateral at this

time. None of these vessels are presently operating for the benefit of the Debtors’ customers. I

am also advised that all of these vessels are insured.

                                            The Aircraft Collateral

        14.       I understand that, prior to the Petition Date, the Debtors, with the assistance of their

aircraft broker Avpro, Inc., began a marketing process for the sale of the aircraft comprising the

Aircraft Collateral.4 Jefferies has reviewed letters of intent the Debtors received for the Aircraft

Collateral (both pre- and postpetition) reflecting a purchase price of or in excess of $40 million.

These letters of intent suggest that the value of the Aircraft Collateral as of the Petition Date was

not less than $40 million. I also understand that the total asserted obligations under the Aircraft

Loan, as of the Petition Date, to be approximately $25.258 million (inclusive of accrued and unpaid

interest and other amounts owed thereunder but exclusive of any asserted make-whole amount).5

Thus, based on the letters of intent received with respect to the Aircraft Collateral, Fortress appears

to have a very substantial equity cushion with respect to its collateral.




4   I understand that the Aircraft Collateral, as of the Petition Date, did not include Cash Collateral.

5   For the avoidance of doubt, the Debtors reserve all rights with respect to the amount of Fortress’s prepetition
    claims.


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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

statements are true and correct to the best of my knowledge, information, and belief.

 Dated: December 8, 2020                          /s/ Richard W. Morgner
 New York, New York                               Richard W. Morgner
                                                  Managing Director and Joint Global Head of
                                                  the Recapitalization & Restructuring Group
                                                  Jefferies LLC
